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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

State Of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 13, 2019:


       MINUTE entry before the Honorable Robert M. Dow, Jr: Status hearing held.
Counsel for Defendant to apprise the Court of any significant developments in 19CH3450.
Counsel for the FOP shall apprise the Court of any significant orders by the Labor Board.
This case will be set for further status hearing after the Court reviews the numerous filings
and the status report referenced on the record. Proposed Intervenor Prieb is given until
11/22/2019 to file a reply brief in support of his motion to intervene. Mailed notice(cdh, )




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